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 1                                                            Judge Franklin D. Burgess
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 8                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 9                                    AT TACOMA
10
     UNITED STATES OF AMERICA,                 )
11                                             )        NO. CR06-5528FDB
                          Plaintiff,           )
12                                             )        ORDER
                                               )        GRANTING STIPULATED
13                 v.                          )        MOTION TO CONTINUE
                                               )        PRETRIAL MOTIONS
14   ALEX M. BLUM, et al,                      )        DEADLINE
                                               )
15                        Defendants.          )
                                                   )
16
            Upon the stipulation of the parties to continue the pretrial motions deadline in the
17
     above-captioned case, and based upon the facts set forth in the parties’ motion, the Court
18
     finds that such a continuance is appropriate and
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     //
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      [PROPOSED] ORDER GRANTING STIPULATED MOTION TO CONTINUE                      UNITED STATES ATTORNEY
                                                                                   1201 Pacific Avenue, Suite 700
      (Blum, et al., CR06-5528FDB) - 1                                              Tacoma, Washington 98402
                                                                                          (253) 428-3800
            Case 3:06-cr-05528-BHS      Document 147   Filed 02/12/07   Page 2 of 2



 1         IT IS HEREBY ORDERED that the pretrial motions deadline be continued to
 2   February 16, 2007.
 3         DATED this 12th day of February, 2007.
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 9                                          HON. FRANKLIN D. BURGESS
10                                          United States District Judge
11
     Presented by:
12

13

14   s/ Michael Dion
15
     MICHAEL DION
     Assistant United States Attorney
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18
     s/ Jill Otake
     JILL OTAKE
19   Assistant United States Attorney
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     [PROPOSED] ORDER GRANTING STIPULATED MOTION TO CONTINUE               UNITED STATES ATTORNEY
                                                                           1201 Pacific Avenue, Suite 700
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                                                                                  (253) 428-3800
